                          IN THE UNITED STATES DISTRICT COURTO.S. DISTRICT COURT
                                                                         EASTERN DISTRICT --WI
                                                                     :                      FILED.
                             EASTERN DISTRICT OF WI• CONSIN                                                                .
                                                                         ~~fl ~UN -8 ,A q: 33
                                                                          JJ,~tJK OF-~·COURT
                                                                         ~---1(L;?/i~ ;-•',,•< :}(
                                                                                        _. ·. -~

                                                                                           ".
                                                                                         ,?·1·           -.··    . !!''

TESF AYE DUMES SA                                    )                                               i.,,J-,    ,.   1:,




                                                     )
   Plaintiff                                          )
                                                      )
                    V.                                )
                                                     Ji   CaleNo:
CONCORDIA WISCONSIN CAMPUS
                                                      )
   Defendant.                                         )
                                                      )


                                           COMPLAINT

           PlaintiffTESFAYE DUMESSA appears before this court seeking damages more

   than$ 280,000 from Defendant Concordia Wisconsin Crmpus, school of pharmacy. Such

   damages arise out of Concordia Wisconsin Campus's, Jchool of pharmacy:(!) breach fits

   duty to the Plaintiff; (2) breach of the student handbolok and policies in its decision to

   dismiss the plaintiff.

                                             PARTIES

               1.        Plaintiff, TESF AYE DUMES SA, is Citizen of Georgia and resides at

       4220 Village Square Lane, Stone Mountain, GAT083.

               2.        Defendant, CONCORDIA UNIVE SITY WISCONSIN CAMPUS, is
                                                           1




       a Citizen of Wisconsin and resides at 12800 N. La e Shore Drive Mequon, WI 53097.


                                                                                                                               1




               Case 2:21-cv-00702-BHL Filed 06/08/21 Page 1 of 7 Document 1
           JURISDICTION AND VENUE



 1 . I am suing under the state law of Wisconsin. The ourt assumes diversity jurisdiction

     as the state citizenship of me the plaintiff is differe t from the state citizenship of every

     defendant, and the amount of money at stake in his case (not counting interest and

     costs) is $864,000.



 2. Venue is proper in this district because the event , transactions, and occurrences

     forming the factual nexus and subject matter of Jy complaint against Defendant

     Concordia Wisconsin took place within this distric , State of Wisconsin.

                                       FACTS

1. I, Tesfaye Dumessa, was an admitted class of 2018 PharmD student of Concordia

   University Wisconsin School of pharmacy. I rejoine, the University in 2015. I studied

   in the University until Feb 2019 this was my gradl!lating year. Two months before

   being awarded my PharmD, I was expelled from             oncordia University Wisconsin

   School of Pharmacy. Prior to my day of expulsion, n Thursday, Feb 14, 2019, I had

   a conversation with Dr. Michael Brown (an Acade ic Dean of student Affairs) who

   was primarily in charge of my case.

2. On that specific date, he gave me a heads up that I will receive an email concerning

   my studies after I explained to him that a precepto at the infectious diseases APPE

   rotation was unfair to me. Though Dr. Michael Bro          has mentioned about an email

   I should expect from the school's Progression Com ittee, I did not receive the email

   he mentioned until Monday the 18th of Feb 2019. I       as completing the duties assigned
                                                                                                2




          Case 2:21-cv-00702-BHL Filed 06/08/21 Page 2 of 7 Document 1
   to me at my clinical ambulatory APPE rotation, w en I received an email from the

   Progression Committee demanding that I find th time to have a conversation

   regarding my academic status based on the email the allege was sent to me on Friday

   Feb 14, 2019. I informed the member of the Pr gression Committee that I was

   currently in rotation and did not have time or proper reparation to meet with them on

   same day as the notice.

3. The Progression Committee demanded that I find a space to meet at the rotation site

   because the conversation could not be scheduled fo another day. In addition, on that

   day I have a schedule to pick my children as soon s I finished rotation that I could

   not stay after rotation is over. They insisted and th meeting held on that day which

   took place during my rotation site. I was very stres ful when they ask me questions

   about my poor performance in my most current APPE rotation without my full

   preparation to their answers; however, I was able to xplain how I was graded unfairly

   from Dr. Piscitello. I also mentioned to the Progre sion Committee that I had some

   family concern that has also contributed for my stre s and needed accumulation of my

   situation at that point.

4. The news of expulsion came as a shock to me two d ys after this meeting. I was aware

   that my performance in my current rotation was f: Hing behind, but I believed that I

   could pass the course with at least a grade of C hen ,e, I worked hard persistently until

   the last day of my rotation. I explained to the Pro ression Committee that I have

   been having difficulties performing academical y because of issues going on at

   home with my wife and children and the precep or at the infectious rotation was

   unfair to me. During my last meeting with Dr. Michael Brown, I explained my
                                                                                               3




         Case 2:21-cv-00702-BHL Filed 06/08/21 Page 3 of 7 Document 1
   situation, and he told me that he must dismiss me rom the program to make his

   job easier. The decision was final, but I was pr vided with an opportunity to

   appeal. My appeal was denied after dismissal, but I as offered the opportunity to use

   my academic credits to graduate from Concordia University with a Bachelor of

   Science in Pharmaceutical Science. I was told that would not be allowed back into

   the pharmacy program because I was not a good fi . I refused on the basis that I felt

   I was not provided with a fair process by the Pr ·gression Committee as well as

   Dr. Michael Brown who knows my family circ mstance from the day I was

   admitted to their program.



5. In Concordia's Student Handbook for the School of Pharmacy, there are policies that

   explain how to carry out the disciplining of a stude t for academic misconduct. The

   handbook specifies that a student can be acade ically disciplined up to three

   times for misconduct. The formal process is under the first level of review for the

   initial misconduct. The second and third instancles of misconduct are reviewed

   following the same process; however, I believe the e were stricter sanctions imposed

   on me. This is because a student cannot be expel ~d or suspended until they have

   committed a third instance of academic misconduct. When I was expelled from CUW,

   I was subject to academic disciplinary process as es ablished under a second review.

6. I had failed a prior rotation in my fourth year, m first rotation in the pharmacy

   program and had been reviewed and reprimanded a specified in the policy. I received

   a formal letter of reprimand from the Associate Der for Academic Affairs informing

   me that I had received a letter grade of F in the c •urse and that I was to repeat the
                                                                                            4




         Case 2:21-cv-00702-BHL Filed 06/08/21 Page 4 of 7 Document 1
   course as recommended by the APPE director Dr. M lissa Theesfeld under the second

   instance of misconduct followed the same process , ut included as mandated by the

   guidelines of the handbook. I met with Dr. Michael   rrown who informed me that his
   sanction was expulsion to make his job easier by ig oring my dedication to finish the

   program that I worked hard for.

7. I attribute this stricter punishment on a letter that t e Associate Dean of Academic

   Affairs (Dr. Michael Brown) received from precepto Dr.Kyle Piscitello, who oversaw

   the infectious diseases' APPE rotation I failed. i e letter to the Associate Dean

   recommended that I be expelled because I was no fit to be a pharmacist. Prior to

   knowing about this letter, I felt that Dr. Piscitello singled me out in my infectious

   diseases APPE rotation and treated me harshly as pposed to my other classmates. I

   am of African origin and Piscitello is white.

8. Dr. Piscitello' s actions against me and CUW' s adh rence to those actions constitute

   discrimination because of race and national origin. CUW' s altering of my academic

   disciplining process negatively affected my ability t, gain my PharmD after acquiring

   over $280,000 in student loans. My educational e ,pectations, livelihood, and status

   have been affected because of this. Although I ave been accepted into another

   pharmacy program, I must complete an additional wo year to gain my PharmD. At

   CUW, I was only two months away from achievi , g my Pharmacy degree. Prior to

   my dismissal, absent to her proper actions, I have nformed Dr. Melissa Theesfeld

   who is the APPE Director about Dr. Piscitello's harsh treatment and attitude

   towards me as opposed to my other classmates. I w s arbitrarily dismissed from my

   program without proper resort to existing prog ams within progression and the
                                                                                           5




         Case 2:21-cv-00702-BHL Filed 06/08/21 Page 5 of 7 Document 1
   student's handbook including suspension, readm ssion, and remediation.



              COUNT I:: BREACH OF CONTRAC AND COVENANT

                         OF GOOD FAITH AND FAIRIDEALING

        1.

incorporates same herein by reference.

        2.   At all times relevant to this litigation, Defendant was in a contractual

relationship with me and owed a duty to me to acting o good faith and deal fairly with

me.

        3.    Such acts and omissions leading to the De endant' s breach ofits duty to

deal in good faith and fairly with me were the actual a d proximate cause of harm to

me.

        4.   Defendant's conduct was outrageous, wit its acts being done with malice

or bad motives or reckless indifference to the interests of me.

        5.   Defendant is liable in damages to me mor than$504,000 the exact amount

to be proven at trial.

             COUNT II: PUNITIVE DAMAGES

        6.   Plaintiff re-alleges the allegations set fo h in Paragraphs 1-8 above and

incorporates same herein by reference.

        7.   At all relevant times, Defendant owed       e a duty to act with due care and

regard for my rights, safety, and interests, including   y financial interests.

        8. Defendant breached that duty of due c e, and such breaches constitute

                                                                                             6




         Case 2:21-cv-00702-BHL Filed 06/08/21 Page 6 of 7 Document 1
outrageous conduct and. reckless disregard of the righ ,s, safety, and interests, including

my financial interests.

       9. Defendant's outrageous conduct towards        e was done with malice or bad

motives or reckless indifference to my interests.

        10. Accordingly, Defendant is liable for damag s to me more than $360,000, the

exact amount to be proven at trial.

           PRAYER FOR RELIEF WHEREFORE

       Plaintiff prays for the following relief:

       (a) Judgment entered in favor of me and again t Defendant and an award of total

compensatory damages of not less than $864,000 un~er count I and n.

       (b) Judgment entered in favor of Plaintiff and a~ainst Defendant under Count II

a punitive damage that is equivalent to $360,000.

       (c) Judgment entered in favor of Plaintiff and against Defendant for pain and

suffering under count I that is equivalent to $ 200 0 0 .

       (d) Award of pre-judgment interest, fees, costs and post-judgment interest

in favor of me and against Defendant that is equivalent to $304,000 under count I;

and

       (e) Such further and other legal and equitable   lief as the Court may deem

just and necessary under the circumstances.



       DATED this 8 day of June 2021.


                                       By: Tesfaye Du essa
                                                                                              7




         Case 2:21-cv-00702-BHL Filed 06/08/21 Page 7 of 7 Document 1
